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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


KAMON ROSS,                             *
an individual,                          *
                                        *
       PLAINTIFF,                       *
                                        *
v.                                      * Case No._______________
                                        *
HARGROVE PLAZA LLC,                     *
a domestic limited liablity             *
company,                                *
                                        *
           DEFENDANT.


                                  COMPLAINT

       Plaintiff KAMON ROSS (“ROSS” or “Plaintiff”) hereby sues Defendant,

HARGROVE PLAZA LLC, a domestic limited liablity company, (hereinafter

“Defendant”) pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et

seq. (“ADA”), and its implementing regulations, the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as follows:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.



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§ 12181 et seq., based upon Defendant’s, HARGROVE PLAZA LLC’s, failure to

remove physical barriers to access and violations of Title III of the ADA.

      2.     Venue is properly located in the NORTHERN DISTRICT OF

GEORGIA, ATLANTA DIVISION, pursuant to 28 U.S.C. § 1391(b) because venue

lies in the judicial district of the property situs or the judicial district in which a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred.

The Defendant’s property is located in and does business within this judicial district

and all events giving rise to this lawsuit occurred in this judicial district.

      3.     Plaintiff, KAMON ROSS, is and has been at all times relevant to the

instant matter, a natural person residing in Georgia and is sui juris.

      4.     Plaintiff is an individual with disabilities as defined by the ADA.

      5.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

      6.     Plaintiff uses a wheelchair for mobility purposes.

      7.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is

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necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      8.      Defendant, HARGROVE PLAZA LLC, is a domestic limited liablity

company conducting business in the State of Georgia and within this judicial district.

                           FACTUAL ALLEGATIONS

      9.      On or about December of 2021, Plaintiff attempted to but was deterred

from patronizing and/or gaining equal access as a disabled patron to the Hargrove

Plaza - Vape Pkwy located at 2620 Cobb Pkwy SE #G, Smyrna, Georgia 30080

(“Subject Facility”, “Subject Property”).

      10.     HARGROVE PLAZA LLC, is the owner, lessor, and/or operator/lessee

of the real property and improvements that are the subject of this action, specifically

the Hargrove Plaza and its attendant facilities, including vehicular parking and

common exterior paths of travel within the site identified by the Cobb County

Assessor parcel identification number 17084800050 (“Subject Facility”, “Subject

Property”).

      11.     Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on Cobb Parkway, a Cobb County thoroughfare that

he frequents routinely, he is routinely where the Subject Property is located and

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travels in and about the immediate area of the Subject Property numerous times

every month, if not every week.

      12.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, HARGROVE PLAZA LLC, is compelled to remove the physical barriers

to access and correct the ADA violations that exist at the Subject Property, including

those set forth in this Complaint.

      13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron, to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      14.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

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gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      15.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      16.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      17.    The Subject Property is a public accommodation and service

establishment.

      18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      19.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer
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employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     20.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     21.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     22.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

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barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     23.     Defendant, HARGROVE PLAZA LLC, has discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

     24.     Defendant, HARGROVE PLAZA LLC, will continue to discriminate

against Plaintiff and others with disabilities unless and until HARGROVE PLAZA

LLC, is compelled to remove all physical barriers that exist at the Subject Property,

including those specifically set forth herein, and make the Subject Property

accessible to and usable by Plaintiff and other persons with disabilities.

     25.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:

                       ACCESSIBLE ROUTES/PARKING
                                (Exterior)

             a. There is no van accessible parking present in violation
                of Section 4.6 of the 1991 ADAAG and Section 502 of

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       the 2010 ADAAG. This violation made it dangerous
       Plaintiff to utilize the parking facility at the Subject
       Property and caused loss of opportunity.

    b. There are not enough designated accessible parking
       spaces present in the parking facility servicing the
       Subject Property in violation of Section 4.1 and 4.6 of
       the 1991 ADAAG and Section 208 and 208.2 of the
       2010 ADAAG. These violations made it dangerous for
       Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff loss of opportunity.

    c. There are no access aisles serving any parking spaces
       in violation of Section 4.6 of the 1991 ADAAG and
       Sections 208 and 502 of the 2010 ADAAG. These
       violations made it dangerous for Plaintiff to utilize the
       parking facility at the Subject Property and caused
       Plaintiff loss of opportunity.

    d. There is no van accessible parking identified as such
       with upright “Van Accessible” signage in violation of
       Section 4.6 of the 1991 ADAAG and Sections 208, 302
       and 502 of the 2010 ADAAG. These violations made
       it dangerous for Plaintiff to utilize the parking facility
       at the Subject Property and caused Plaintiff loss of
       opportunity.

    e. There is no visible upright signage (displaying the
       International Symbol of Accessibility) designating any
       parking spaces as accessible in violation of Section 4.6
       of the 1991 ADAAG and Section 502 of the 2010
       ADAAG. These violations made it dangerous for
       Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff loss of opportunity.

    f. The paint delineating the accessible parking spaces and
       access aisles is not being maintained so that it clearly
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       marks the accessible parking location in violation of 28
       CFR § 36.211, Section 4.6 of the 1991 ADAAG, and
       Section 502.3.3 of the 2010 ADAAG. These violations
       made it dangerous for Plaintiff to utilize the parking
       facility at the Subject Property and caused Plaintiff loss
       of opportunity.

    g. The designated accessible parking at this site is not
       adequately dispersed throughout the facility. There are
       no accessible spaces provided for the retailers within
       the property facility. This is in violation of Section 4.6
       and 4.6.2 of the 1991 ADAAG and Sections 208.3.1 of
       the 2010 ADAAG. These violations made it dangerous
       for Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff loss of opportunity.

    h. There is no accessible route provided within the site
       from the public sidewalk which serves the facility.
       Violation: There is no accessible route connecting the
       public sidewalk serving the subject facility and any
       accessible entrance(s) in violation of Section 4.3.2 of
       the 1991 ADAAG and Section 206.2.1 of the 2010
       ADAAG. These violations made it dangerous for
       Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff loss of opportunity.

    i. The parking spaces are not level in all directions and
       have areas of uneven, broken and cracked pavement
       because of Defendant’s history and practice of failing
       to inspect and maintain the parking surface in violation
       of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3 of the
       1991 ADAAG and Sections 302 and 502.4 of the 2010
       ADAAG. These violations made it dangerous for
       Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff loss of opportunity.



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                           RAMP/ROUTES

    j. There are no curb ramps present along the route from
       the purported accessible spaces to the entrance of the
       store in violation of Section 303.4 of the 2010 ADAAG
       and in violation of 28 CFR § 36.211. These violations
       made it dangerous for Plaintiff to utilize the parking
       facility at the Subject Property and caused Plaintiff loss
       of opportunity.

                   MAINTENANCE PRACTICES

    k. Defendant has a practice of failing to maintain the
       accessible features of the facility, creating barriers to
       access for the Plaintiff, as set forth herein, in violation
       of 28 CFR § 36.211. This practice prevented access to
       the plaintiff equal to that of Defendant’s able-bodied
       customers causing Plaintiff loss of opportunity.

    l. Defendant has a practice of failing to maintain the
       accessible elements at the Subject Facility by
       neglecting its continuing duty to review, inspect, and
       discover transient accessible elements which by the
       nature of their design or placement, frequency of usage,
       exposure to weather and/or other factors, are prone to
       shift from compliant to noncompliant so that said
       elements may be discovered and remediated.
       Defendant failed and continues to fail to alter its
       inadequate maintenance practices to prevent future
       recurrence of noncompliance with dynamic accessible
       elements at the Subject Facility in violation of 28 CFR
       § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
       These violations, as set forth hereinabove, made it
       impossible for Plaintiff to experience the same access
       to the goods, services, facilities, privileges, advantages
       and accommodations of the Subject Facility as


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                Defendant’s able-bodied patrons and caused Plaintiff
                loss of opportunity.

             m. Defendant has failed to modify its discriminatory
                maintenance practices to ensure that, pursuant to its
                continuing duty under the ADA, the Subject Property
                remains readily accessible to and usable by disabled
                individuals, including Plaintiff, as set forth herein, in
                violation of 28 CFR § 36.302 and 36.211. This failure
                by Defendant prevented access to the plaintiff equal to
                that of Defendant’s able-bodied customers causing
                Plaintiff loss of opportunity.

      26.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, he has actual notice that

the defendant does not intend to comply with the ADA.

      27.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

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placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      28.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      29.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      30.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

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      31.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      32.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      33.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      34.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      35.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

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available to able bodied individuals of the general public.

      36.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      37.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, HARGROVE PLAZA LLC, is required to remove the

physical barriers, dangerous conditions and ADA violations that exist at the Subject

Property, including those alleged herein. Considering the balance of hardships

between the Plaintiff and Defendant, a remedy in equity is warranted.

      38.    Plaintiff’s requested relief serves the public interest.

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       39.    Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees

and costs of litigation from Defendant, HARGROVE PLAZA LLC, pursuant to 42

U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and equal

access to the subject premises, as provided by the ADA unless the injunctive relief

requested herein is granted.

      40.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

      WHEREFORE, the Plaintiff prays as follows:

      A.      That the Court find Defendant, HARGROVE PLAZA
              LLC, in violation of the ADA and ADAAG;

      B.      That the Court enter an Order requiring Defendant,
              HARGROVE PLAZA LLC, to (i) remove the physical
              barriers to access and (ii) alter the Subject Property to
              make the Subject Property readily accessible to and
              useable by individuals with disabilities to the full extent
              required by Title III of the ADA;

      C.      That the Court enter an Order directing Defendant,
              pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
              to maintain its accessible features and equipment so that
              the facility remains accessible to and useable by
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      individuals with disabilities to the full extent required by
      Title III of the ADA;

D.    That the Court enter an Order directing Defendant to
      implement and carry out effective policies, practices, and
      procedures to maintain the accessible features and
      equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
      §36.211.

E.    That the Court enter an Order directing Defendant to
      evaluate and neutralize its policies and procedures towards
      persons with disabilities for such reasonable time so as to
      allow them to undertake and complete corrective
      procedures;

F.    An award of attorneys’ fees, costs (including expert fees),
      and litigation expenses pursuant to 42 U.S.C. § 12205 and
      an award of monitoring fees associated with insuring that
      the Defendant is in compliance with the ADA.

G.    An award of interest upon the original sums of said award
      of attorney’s fees, costs (including expert fees), and other
      expenses of suit; and

H.    Such other relief as the Court deems just and proper,
      and/or is allowable under Title III of the Americans with
      Disabilities Act.

Dated this the _20th__ day of ___April_______, 2022.


                                Respectfully submitted,

                                By: /s/ Julie McCollister______
                                Julie McCollister, Esq.
                                Counsel for Plaintiff
                                Georgia State Bar No.: 450726




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DEFENDANT TO BE SERVED:
HARGROVE PLAZA LLC
C/O Greg Jacobs
1117 Perimeter Ctr West, Suite W501
Atlanta, GA 30338


          CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a font size of 14.

                                      /s/ __Julie McCollister_______
                                      Julie McCollister




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